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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-22886-CIV-MORENO

 EVELYN FERNANDEZ,

                 Plaintiff,

 v.

 CRYSTAL CRUISES, LLC,

                 Defendant.
                                             /

                                    MEDIATOR’S REPORT

          Mediation was held on January 9, 2020, with all parties and their counsel present.   A

 settlement was not reached.

                                              Respectfully submitted,

                                              GRAYROBINSON, P.A.
                                              333 S.E. 2nd Avenue, Suite 3200
                                              Miami, Florida 33131
                                              Telephone: (305) 416-6880
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                                              BY:    /s/ Marlene Quintana
                                                     Marlene Quintana, Mediator
                                                     Florida Bar No.: 88358
                                                     marlene.quintana@gray-robinson.com




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 10, 2020, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that a true and correct copy of the

 foregoing document was served via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing on all counsel or parties of record on the

 Service List below.


                                               BY:    /s/ Marlene Quintana
                                                      Marlene Quintana, Mediator




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